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UNITED ST'ATES DlSTRlC'I' COURT
WESTERN DISTRICl‘ OF NEW YORK

 

vJOHN SCHARR and PATR!CIA A. SCHARR,

 

Plalnfi®. Civil Action No.; l&-CV-6821'l’
V. S_TI_PULAT[QN QF
VOLUN'_I'ARY FARTIAL
DISMISSAL PUR.SUANT TO
§§1{$<`:[%1§§ msURANcE_ coMPANY op F‘RSC?P` 41 (.)u)(A)u)
And
TH.E HANQVER INSURANCE GROUP,
INC.,
Defendants.
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respoctivo counsal(s) that tbo above-captioned action' 1: voluntarily dismissed, with prejudice, §§
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‘ .Benz, Esq. ,\fCounsol
Attorneya for Plaiutiffs
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